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                                      Los Angeles, California 90010
                                 5    Telephone: (213) 381-9988
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                                 6
                                 7    Attorneys for Plaintiff Crystal Redick

                                 8                               UNITED STATES DISTRICT COURT

                                 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 10
                                 11   CRYSTAL REDICK, an individual,              CASE NO.: 2:22-CV-07069-MEMF-SKX

                                 12                         Plaintiff,

                                             v.                                   Honorable Judge Maame Ewusi-Mensah
3055 Wilshire Blvd, 12th Floor




                                 13
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                                                                  Frimpong
                                 14                                               NOTICE OF SETTLEMENT
                                      CAPTIVATE HOSPITALITY GROUP,
                                 15   LLC d/b/a SOLSTICE, a Delaware limited
                                      liability company; and DOES 1 to 10,
                                 16   inclusive,
                                 17                         Defendants.
                                 18                                               Complaint Filed: September 29, 2022
                                                                                  Trial Date: None
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                                                                         NOTICE OF SETTLEMENT
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                                 1           Plaintiff Crystal Redick (“Plaintiff”) hereby notifies the Court that the claims of Plaintiff
                                 2    have settled. A notice of dismissal with prejudice as to Plaintiff’s claims in accordance with
                                 3    Federal Rule of Civil Procedure 41(a)(1)(A)(i) will be filed upon execution of a formal settlement
                                 4    agreement.
                                 5
                                 6    Dated: February 8, 2023                              Respectfully Submitted,
                                 7
                                                                                           /s/ Binyamin I. Manoucheri
                                 8                                                         Thiago M. Coelho
                                 9                                                         Binyamin I. Manoucheri
                                                                                           WILSHIRE LAW FIRM
                                 10                                                        Attorneys for Plaintiff

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3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




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                                                                     NOTICE OF SETTLEMENT
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                                 1                                   CERTIFICATE OF SERVICE
                                 2           The undersigned hereby certifies that on February 8, 2023, a true and correct copy of the

                                 3    foregoing was electronically filed with the Clerk of the Court using the Court’s CM/ECF system,

                                 4    which sent notification to all counsel of record, who are deemed to have consented to electronic

                                 5    service via the CM/ECF system.

                                 6    Dated: February 8, 2023                             /s/ Binyamin I. Manoucheri

                                 7                                                        Binyamin I. Manoucheri

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 WILSHIRE LAW FIRM, PLC




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                                                                    CERTIFICATE OF SERVICE
